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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 VIRNETX INC., LEIDOS, INC.,                      §
                                                  §
                Plaintiffs,                       §   CIVIL ACTION NO. 6:12-CV-00855-RWS
                                                  §
 v.                                               §   LEAD CASE
                                                  §
 APPLE INC.,                                      §
                Defendant.                        §


 VIRNETX INC.,                                    §
                                                  §
                Plaintiff,                        §   CIVIL ACTION NO. 6:11-CV-00563-RWS
                                                  §
 v.                                               §   MEMBER CASE
                                                  §
 APPLE INC.,                                      §
                Defendant.                        §


                                      FINAL JUDGMENT
      . On this date, the Court entered its Memorandum Opinion and Order denying Defendant

 Apple Inc.’s Omnibus Motion for Judgment as a Matter of Law under Rule 50(b) and for a New

 Trial (Docket No. 775) and denying-in-part and granting-in-part VirnetX’s Motion for Entry of

 Judgment and for Equitable and Statutory Relief (Docket No. 774)

        A decision having been duly rendered as to all claims and consistent with the Court’s

 Memorandum Opinion and Order, the Court hereby enters FINAL JUDGMENT.

        The Clerk of the Court is directed to close both the lead and member case.

        So ORDERED and SIGNED this 30th day of August, 2018.




                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE
